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FoR THE wEsTERN DISTRICT oF TENNESSEE 95 tim '2 ‘

 

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TRUSTMARK INSURANCE ) W:' .=» Ti~.l, .~,i¥;tv.
COMPANY, )
)
Plaintiff, )
)
v. ) Case No. 04-27] 5-D
)
MELVIN NEGELEIN, )
TENET HEALTHSYSTEM, )
TENET HEALTHCARE )
CORPORATION, )
and SAINT FRANCIS )
HOSPITAL, )
)
Defendants. )
)

 

ORDER GRANTING MOTION TO COMPEL ARBITRATION

 

Before the Court is the motion of Tenet Healthcare Corporation and St. Francis Hospital
(“Defendants”) to compel arbitration The Court has jurisdiction pursuant to 28 U.S.C. § 1332. For
the following reasons, the Court GRANTS the motion to compel.

I. BACKGROUND

On or about April ], 1998, Trustmark Insurance Company (“Plaintiff”), through its agent
Private Healthcare Systems (“PHS”), and Defendants entered into a Pret`erred Facility Agreement
(“PFA”). The PFA provided that Defendants Would render medically necessary services to
individuals covered by PHS. The PFA included a dispute resolution clause, which provides:

Dispute Resolution. ln the event of any problems or disputes that may arise under

this Agreement, the parties to such problems or dispute will meet and seek resolution

in good faith. Any controversy or claim arising out of or relating to this Agreement

or the breach thereof, Which is not so resolved, Will be settled by binding arbitration
in accordance With the National Health Lavvyers Association Alternative Dispute

Thls document entered on the docket sheet in compliance
with Flu|e 58 and/or 79{a) FRCP on 1

 

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Resolution Service Rules of Procedure for Arbitration, and judgment on the award

by the arbitrator(s) may be entered in any court having jurisdiction thereof.
Resp. of Pl. in Opp. To Mot. Of Defs. To Compel Arbitration, Ex. A, § 7.1.

Plaintiff insured Def`endant Melvin Negelein. ln March 2001 through April 2001, Defendant
St. Francis Hospital treated Defendant Negelein. Pursuant to the PFA, St. Francis contacted Plaintiff
and notified it of DefendantNegelein’s admission PHS advised St. Francis that Defendant Negelein
was a “covered individual” and that his medical care and treatment were authorized by Plaintiff.

Thereafter, Plaintiff discovered that Defendant Negelein had misrepresented his medical
condition, failing to disclose a preexisting condition Asserting that Def`endant Negelein was not a
covered individual, Plaintiff refused to pay for the medical treatment that St. Francis rendered to
Negelein.

Pursuant to the contract between Plaintiff and St. Francis, on August 2, 2004, Def`endant
Tenet Health filed a Request for Dispute Resolver List with the American Health Lawyers
Association, seeking arbitration On September 7, 2004, Trustmark filed a Petition for Stay of
Arbitration in the United States District Court of Maryland. Thereafter, on September 10, 2004,
Trustmark initiated the instant action. ln this Court, Plaintiff seeks a declaratory judgment that the
policy issued to Defendant Negelein “excludes coverage for medical treatment for any and all
preexisting intestinal and digestive tract disorders, specifically ulcer disorders and reflux.” On
September 15, 2004, Trustmark filed a Motion for Preliminary lnjunction With the district court in
Maryland, seeking to stay arbitration Plainti ff further seeks apreliminary injunction from the Court,
enjoining Defendants from arbitrating their claims against Plaintiff. On November 30, 2004, the

Court entered an order of default judgment against Det`endant Negelein, declaring that “no coverage

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existed pursuant to the subject policy of health insurance issued by Trustmark Insurance Company”
to Def`endant Negelein.
II. ANALYSIS

Def`endants assert that the Court should compel arbitration in this case. Plaintiff` contends
that the issues asserted by Defendants do not fall within the scope of the dispute resolution clause
of the Agreement. More specifically, Plainti ff maintains that the issues raised by Defendants are not
covered by the arbitration clause because Def`endant Negelein is not a “covered individual” who
received “covered care.”

“Before compelling an unwilling party to arbitrate, [a] court must engage in a limited review
to determine whether the dispute is arbitrable; meaning that a valid agreement to arbitrate exists
between the parties and that the specific dispute falls within the substantive scope of that
agreement.” Bratt Ente;prises, Inc. v. Noble lntern. Ltd., 338 F.3d 609, 612 (6th Cir. 2003) (gu_otjng
Javitch v. First Union Sec.. lnc.. 315 F.3d 619, 624 (6th Cir. 2003)). The duty to arbitrate derives
from the parties’ agreement, and a party cannot be required to submit to arbitration unless that party
has agreed to do so. lg (citation omitted). “[I]n applying general state-law principles of contract
interpretation to the interpretation of an arbitration agreement . . . due regard must be given to the
federal policy favoring arbitration, and ambiguities as to the scope of the arbitration clause itself
resolved in favor of arbitration.” § at 61 3 (quoting Volt Info. Scis.. Inc. v. Bd. of Trs. of the Leland
Stanf`ord .Tunior Univ., 489 U.S. 468, 475-76 (1989)).

The contract between St. Francis and Plaintiff` provides that “[a]ny controversy or claim
arising out of or relating to this Agreement or the breach thereof`, which is not so resolved, will be

settled by binding arbitration.” The contract further provides that “[t]his Agreement is intended by

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the parties to be and will be construed as a Series of entirely separate contracts . . relating to the
provision of health care services to COVERED INDIV[DUALS. . . .” A “covered individual” is
defined as “any individual and dependent covered by a contract” with Plaintiff.

Defendants seek to arbitrate whether Plaintiff is required to pay for the services that
Defendant Negelein received Defendants maintain that they detrimentally relied on Plaintiff’s
assurances that Defendant Negelein was a covered individual and that his treatment was authorized
Plaintiff disputes that Defendant Negelein is a covered individual pursuant to his policy. As such,
Plaintiff asserts that because the Agreement only governs the conduct and obligations of the parties
relative to payments for treatment of covered individuals it necessarily follows this claim does not
arise out of or relate to the Agreement or any breach thereof.

The Court has determined by way of default judgment that Defendant Negelein is not a
covered individual The Court finds, however, that the issue of whether Defendants detrimentally
relied on Plaintif`f’ s pretreatment assurances that Defendant Negelein was a covered individual and
eligible for treatment is an issue properly within the scope of the arbitration clause Defendants’
treatment of Defendant Negelein clearly arose from the Agreement between Plaintiff and
Defendants, whereby Defendants agreed to provide services to those who Plaintiff insured.
Moreover, Plainti ff" s alleged assurance that Defendant was covered by his insurance policy for such
treatments is an issue that arose from the Agreement between Plaintiff and Defendants. The Court
finds therefore that the issues that Defend ants seek to arbitrate arise out of or relate to the Agreement
between Plaintiff and Defendants. Accordingly, the Court compels Plaintiff to arbitrate the matter.
III. CONCLUSION

F or the aforementioned reasons, the Court GRANTS the motion ofDefendants Tenet Health

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Care Corporation and St. Francis Hospital to compel arbitration

IT IS SO ORDERED this g al day of 2 2 @z , 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:04-CV-02715 was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

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Honorable Bernice Donald
US DISTRICT COURT

